Case 3:17-cv-00072-NKM-JCH Document 272-3 Filed 03/14/18 Page 1 of 4 Pageid#: 1864




                       EXHIBIT 2
Case 3:17-cv-00072-NKM-JCH Document 272-3 Filed 03/14/18 Page 2 of 4 Pageid#: 1865



    From:               James Kolenich
    To:                 Julie Fink
    Subject:            Re: Sines et al. v. Kessler et al.
    Date:               Wednesday, March 14, 2018 8:27:08 AM


    Good Morning. I have read the Gab and other common alt-right feeds. I dont know anymore
    about this situation than you. The only post incident communication from that group has been
    a request that I meet with Heimbach late this afternoon, which I will do, even if the meeting
    has to be at a jail. I will update you then.

    I understand that you have to file what you think best for your case.

    Jim

    On Tue, Mar 13, 2018, 11:17 PM Julie Fink <jfink@kaplanandcompany.com> wrote:

      Messrs. Kolenich and Woodard,



      In the attached message posted to Gab, your client Matt Parrott states his intention to destroy
      documents and information directly relevant to Plaintiffs’ claims against him and TWP, in
      violation of both of their legal obligations. Specifically, he writes: "All of the information
      systems are completely air-gapped and will be destroyed within a few hours in order to
      guarantee all membership information literally no longer exists anywhere."



      Please confirm by 9am tomorrow morning that Mr. Parrott has not destroyed and will take
      steps to preserve any and all such documents and information, or we will seek immediate
      relief from the Court.




      Julie E. Fink | Kaplan & Company, LLP

      350 Fifth Avenue | Suite 7110

      New York, NY 10118

      (W) 212.763.0885 | (M) 646.856.6431

      jfink@kaplanandcompany.com




      From: James Kolenich [mailto:jek318@gmail.com]
Case 3:17-cv-00072-NKM-JCH Document 272-3 Filed 03/14/18 Page 3 of 4 Pageid#: 1866


     Sent: Monday, March 12, 2018 10:52 PM
     To: Seguin Strohmeier <sstrohmeier@kaplanandcompany.com>
     Cc: Elmer Woodard <isuecrooks@comcast.net>; Julie Fink
     <jfink@kaplanandcompany.com>; Roberta Kaplan <rkaplan@kaplanandcompany.com>;
     Christopher Greene <cgreene@kaplanandcompany.com>; Karen Dunn
     <KDunn@bsfllp.com>; Levine, Alan <alevine@cooley.com>
     Subject: Re: Sines et al. v. Kessler et al.



     ​Ms. Strohmeier:



      Thank you for your letter of March 9, 2018. Due to the press of other business my
     clients will be unable to respond to discovery by March 23. We can respond by April
     6, 2018. In addition we decline your request to have each client provide written
     verification of their compliance with what is already a legal obligation. ​



     Respectfully,



     Jim Kolenich




     On Fri, Mar 9, 2018 at 7:08 PM, Seguin Strohmeier
     <sstrohmeier@kaplanandcompany.com> wrote:

       Mssrs. Woodard and Kolenich:



       Please see the attached correspondence.



       _____



       Seguin L. Strohmeier

       Kaplan & Company, LLP

       350 Fifth Avenue, Suite 7110

       New York, NY 10118
Case 3:17-cv-00072-NKM-JCH Document 272-3 Filed 03/14/18 Page 4 of 4 Pageid#: 1867



          (929) 294-2531

          sstrohmeier@kaplanandcompany.com




          This email and its attachments may contain information that is confidential and/or protected from disclosure by the
          attorney-client, work product or other applicable legal privilege. If you are not the intended recipient of the email, please
          be aware that any unauthorized review, use, disclosure, dissemination, distribution, or copying of this communication,
          or any of its contents, is strictly prohibited. If you have received this communication in error, please notify the sender
          immediately and destroy all copies of the message from your computer system. Thank you.




     --

     James E. Kolenich

     Kolenich Law Office

     9435 Waterstone Blvd. #140

     Cincinnati, OH 45249

     513-444-2150

     513-297-6065(fax)

     513-324-0905 (cell)



     This email and its attachments may contain information that is confidential and/or protected from disclosure by the
     attorney-client, work product or other applicable legal privilege. If you are not the intended recipient of the email, please be
     aware that any unauthorized review, use, disclosure, dissemination, distribution, or copying of this communication, or any
     of its contents, is strictly prohibited. If you have received this communication in error, please notify the sender immediately
     and destroy all copies of the message from your computer system. Thank you.
